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  B1040 (FORM 1040) (12/15)

           ADVERSARY PROCEEDING COVER SHEET                                                                  ADVERSARY PROCEEDING NUMBER
                                                                                                             (Court Use Only)
                   (Instructions on Reverse)

PLAINTIFFS                                                                             DEFENDANTS
FIELDWOOD ENERGY, LLC AND GOM SHELF LLC                                                EVEREST REINSURANCE COMPANY, PHILADELPHIA INDEMNITY
                                                                                       INSURANCE COMPANY, HCC INTERNATIONAL INSURANCE COMPANY
                                                                                       PLC, APACHE CORPORATION, APACHE SHELF, INC., APACHE
                                                                                       DEEPWATER LLC, AND APACHE SHELF EXPLORATION LLC
                                                                                                                                                       LOCKE LORD LLP
ATTORNEYS (Firm Name, Address, and Telephone No.)                                     ATTORNEYS (If Known)          HUNTON ANDREWS KURTH LLP
                                                                                                                                                       Philip G. Eisenberg, Elizabeth Guffy
                                                                                      CHIESA SHAHINIAN &            Robin Russell, Michael Morfey &    Simon Mayer, & Eric Boylan
WEIL, GOTSHAL & MANGES LLP         WEIL, GOTSHAL & MANGES LLP                         GIANTOMASI PC                 Catherine Diktaban                 600 Travis Street, Suite 2800
Alfredo R. Pérez                   Matthew S. Barr & Jessica Liou                     Darren Grzyb                  600 Travis Street, Suite 4200      Houston, TX 77002
700 Louisiana Street, Suite 1700   767 Fifth Avenue                                   One Boland Drive              Houston, TX 77002
                                                                                                                                                       Telephone: (713) 226-1200
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Email: Alfredo.Perez@weil.com      Email: Matt.Barr@weil.com; Jessica.Liou@weil.com                                 CDiktaban@hunton.com               simon.mayer@lockelord.com
                                                                                                                                                       eric.boylan@lockelord.com
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor
X           □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □
                                                                 X Other

□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
The Debtors seek a declaratory judgment pursuant to the Texas Declaratory Judgment Act or, in the alternative, the Federal Declaratory Judgment Act, that
confirmation of the Fourth Amended Joint Chapter 11 Plan of Fieldwood Energy LLC and its Affiliated Debtors (Docket No. 1284) (including any exhibits and
schedules thereto and as may be further amended, supplemented, or modified, the “Plan”), and the effectiveness of the transactions contemplated therein, including
under the Apache Definitive Documents (as defined in the Plan), will not discharge the Surety Defendants’ obligations under the surety bonds or impair Apache’s
ability to draw on the surety bonds in the future.

                                                                          NATURE OF SUIT
         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                            □
     FRBP 7001(1) – Recovery of Money/Property                                         FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                                      □
                                                                                          61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                             □
                                                                                          68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                                □
                                                                                          63-Dischargeability - §523(a)(8), student loan
                                                                                          64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                       □
                                                                                             (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
     FRBP 7001(2) – Validity, Priority or Extent of Lien                                  65-Dischargeability - other


                                                                                       □ 71-Injunctive relief – imposition of stay
                                                                                       FRBP 7001(7) – Injunctive Relief

□
     FRBP 7001(3) – Approval of Sale of Property
     31-Approval of sale of property of estate and of a co-owner - §363(h)             □ 72-Injunctive relief – other
□ 41-Objection / revocation of discharge - §727(c),(d),(e)
     FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                       □ 81-Subordination of claim or interest
                                                                                       FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
     FRBP 7001(5) – Revocation of Confirmation
                                                                                       □2 91-Declaratory judgment
                                                                                       FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
     FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □1 02-Other (e.g. other actions that would have been brought in state court
                                                                                                    if unrelated to bankruptcy case)
□x`Check if this case involves a substantive issue of state law                        □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                       Demand $
Other Relief Sought
                Case 20-33948 Document 1327-2 Filed in TXSB on 05/02/21 Page 2 of 2
  B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
In re FIELDWOOD ENERGY LLC, et. al.                                     20-33948
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
Southern District of Texas                                              Houston                          Honorable Marvin Isgur
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


/s/ Alfredo R. Pérez


DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)

May 2, 2021                                                             Alfredo R. Pérez



                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
